                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

COUNTY OF HARRIS, TEXAS,                                 §
  Plaintiff,                                             §
                                                         §
v.                                                       §
                                                         §
ELI LILLY AND COMPANY; NOVO                              §
NORDISK INC.; SANOFI-AVENTIS U.S.                        §
LLC; EXPRESS SCRIPTS HOLDING                             §     CIVIL ACTION NO. 4:19-cv-04994
COMPANY; EXPRESS SCRIPTS, INC.;                          §
ESI MAIL PHARMACY SERVICES, INC.;                        §
EXPRESS SCRIPTS PHARMACY, INC.;                          §
CVS     HEALTH    CORPORATION;                           §
CAREMARK RX, L.L.C.; CAREMARK                            §
PCS HEALTH, L.L.C.; CAREMARK,                            §
L.L.C.; CAREMARK TEXAS MAIL                              §
PHARMACY, LLC; OPTUM, INC.;                              §
OPTUMRX, INC.; AETNA RX HOME                             §
DELIVERY,    LLC   AND    AETNA                          §
PHARMACY           MANAGEMENT                            §
SERVICES, LLC,                                           §
  Defendants                                             §

     STIPULATION REGARDING SERVICE AND SETTING TIME FOR RESPONDING
                           TO THE COMPLAINT

        Plaintiff County of Harris, Texas (“Harris County”) and the Defendants 1 enter into the

following stipulation regarding service of the complaint and deadlines for Defendants’ response

to the complaint:

                1. Harris County will file its First Amended Complaint by January 31, 2020.
                   Harris County’s First Amended Complaint will include claims under the
                   Texas Deceptive Trade Practices Act. T EX. BUS. & COMM. CODE §§ 17.41-
                   .63 (“DTPA”).




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  The “Defendants” are Defendants Eli Lilly and Company; Novo Nordisk Inc.; Sanofi-Aventis U.S. LLC; CVS
Health Corporation; Caremark RX, L.L.C.; CVS Health Corporation; Caremark L.L.C.; CaremarkPCS Health,
L.L.C. Corporation; Caremark Texas Mail Pharmacy, L.L.C. Corporation; Express Scripts Holding Company;
Express Scripts, Inc.; ESI Mail Pharmacy Service, Inc.; Express Scripts Pharmacy, Inc.; OptumRx, Inc.; Optum,
Inc.; Aetna Rx Home Delivery, LLC; Aetna Pharmacy Management Services, LLC.
              2. Counsel for Defendants will accept service of process of the First Amended
                 Complaint on behalf of their clients, expressly reserving the right to contest
                 whether any party in the First Amended Complaint is properly named, and
                 without waiver of any defenses, including those related to personal
                 jurisdiction and venue.

              3. Defendants’ responsive filings to Harris County’s First Amended Complaint
                 (including answers or motions to dismiss) will be due 60 days after Harris
                 County’s First Amended Complaint is filed. This 60-day period will satisfy
                 any abatement period under the DTPA. See TEX. BUS. & COMM. CODE §
                 17.505.

              4. Harris County’s response to Defendants’ responsive filings will be due 60
                 days after the last of the Defendants’ responsive filings is filed.

              5. Defendants’ replies supporting their responsive filings will be due 30 days
                 after Harris County files its response.

              6. Except as may be ordered by the Court, discovery in this action will be stayed
                 pending resolution of any motions to dismiss filed by Defendants.


              Signed this the ________ day of _________________, 2020.


                                                   ___________________________________
                                                   Gray H. Miller
                                                   United States District Judge

AGREED:

/s/ Earnest W. Wotring___________________                 1/31/2020
Earnest W. Wotring                                        Date
Baker • Wotring LLP
Attorney for Plaintiff Harris County, Texas

/s/ Bryce L. Callahan____________________                 1/31/2020
Bryce L. Callahan                                         Date
Yetter Coleman LLP
Attorney for Defendant Eli Lilly and Company

/s/ Joshua L. Fuchs______________________                 1/31/2020
Joshua L. Fuchs                                           Date
Jones Day
Attorney for Defendant Sanofi-Aventis U.S. LLC



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/s/ Winstol D. Carter, Jr.__________________       1/31/2020
Winstol D. Carter, Jr.                             Date
Morgan, Lewis & Bockius LLP
Attorney for Defendants
Express Scripts Holding Company
Express Scripts, Inc.
ESI Mail Pharmacy Services, Inc.
Express Scripts Pharmacy, Inc.

/s/ Justin E. VandenBout__________________         1/31/2020
Justin E. VandenBout                               Date
Chamberlain, Hrdlicka, White, Williams & Aughtry
Attorney for Defendants
Optum, Inc. and OptumRx, Inc.

/s/ Larry R. Veselka______________________         1/31/2020
Larry R. Veselka                                   Date
Smyser Kaplan & Veselka, L.L.P.
Attorney for Defendants
CVS Health Corporation
Caremark RX, L.L.C.
Caremark, L.L.C.
Caremark PCS Health, L.L.C.
Caremark Texas Mail Pharmacy, LLC
Aetna RX Home Delivery, LLC
Aetna Pharmacy Management Services, LLC

/s/ Randall L. Christian____________________       1/31/2020
Randall L. Christian                               Date
Bowman and Brooke LLP
Attorney for Defendant Novo Nordisk Inc.




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